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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
JOE HAND PROMOTIONS, INC.,                                       :

                            Plaintiff,                            :

                                                                  :         ORDER
                  -against-
                                                                  :   19-CV-07521 (ER)(KNF)
OMARA M. HUERTAS REYES, individually, and
as officer, director, shareholder, and/or principal of :
40-60 BROADWAY RESTAURANT, INC. d/b/a
AQUA MARINA, and 40-60 BROADWAY                        :                                :
RESTAURANT, INC. d/b/a/ AQUA MARINA,
                                                       :
                                                       :
                          Defendants.
                                                       :

                                                          :
--------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         IT IS HEREBY ORDERED that a settlement conference shall be held in the above-

captioned action on November 24, 2020 at 10:30 a.m. The conference will be held by telephone.

The parties are directed to call (888) 557-8511 and, thereafter, enter access code 4862532.

         The parties are also directed to review and comply with the undersigned’s Procedures

Applicable to Cases Referred for Settlement, which may be found on the Court’s website. As set

forth in the procedures, no later than 3 days before the conference, the parties must provide

Judge Fox: (1) a pre-conference letter; and (2) a completed attendance form, except that these

submissions shall be made via e-mail to: elizabeth_potter@nysd.uscourts.gov.

         Additionally, at least seven days prior to the settlement conference, the parties must



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confer to engage in good-faith settlement negotiations. Should the parties resolve the litigation

prior to the conference date, they must notify the undersigned, in writing, expeditiously.

Dated: New York, New York                            SO ORDERED:
       October 16, 2020




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